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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

UNITED STATES OF AMERICA Hon. James B. Clark, U.S.M.J.
vs. Crim. No. 20-12359
ETHAN B. WELWART,

WILLIAM B. WEWART, and
ELAN YAISH

 

ORDER FOR MODIFICATION OF CONDITIONS OF RELEASE

This matter having come before the Court on the joint application of Rachael A. Honig,
Acting United States Attorney for the District of New Jersey (by Nicole Mastropieri, Assistant
United States Attorney) and Defendant ETHAN B. WELWART (by Bruce A. Levy, Esq.,
appearing) for an order granting a modification of the Order Setting Conditions Of Release and
so that ETHAN B. WELWART may change his place of residence from New Jersey to the State
of New York and for good cause shown,

IT IS THE FINDING OF THIS COURT, that conditions of release should be amended
for the following reasons:

(1) There are conditions of release sufficient to reasonably assure the
appearance of the Defendant as required;

(2) The defendant has provided information to PreTrial Services regarding his

New York residence and will continue to report as directed; and

(3) The United States has consented to the above-referenced modification.

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IT IS, therefore, ORDERED that:
(1) The Order Setting Conditions of Release is hereby modified and the

Defendant ETHAN B. WELART may change his residence to the State of New York.

 

THE HON. JAMES B. CLARK, U.S.M.J.,
United States District Court

Consented and Agreed to by:

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Assistant U.S. 1,
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BRUCE A. LEVY
Counsel for Defendant Ethan B. Welwart

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